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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

RANDY HOLLOWAY,

                       Plaintiff,                     Case No. 1:22-cv-428
v.                                                    Honorable Paul L. Maloney
ROBERT HOLMES BELL et al.,

                       Defendants.
____________________________/

                           OPINION DENYING LEAVE
                 TO PROCEED IN FORMA PAUPERIS - THREE STRIKES

        This is a civil rights action brought by a state prisoner under 42 U.S.C. § 1983. Plaintiff

seeks leave to proceed in forma pauperis. Because Plaintiff has filed at least three lawsuits that

were dismissed as frivolous, malicious or for failure to state a claim, he is barred from proceeding

in forma pauperis under 28 U.S.C. § 1915(g). The Court will order Plaintiff to pay the $402.00

civil action filing fees applicable to those not permitted to proceed in forma pauperis.1 This fee

must be paid within twenty-eight (28) days of this opinion and accompanying order. If Plaintiff

fails to pay the fee, the Court will order that this case be dismissed without prejudice. Even if the

case is dismissed, Plaintiff must pay the $402.00 filing fees in accordance with In re Alea, 286

F.3d 378, 380–81 (6th Cir. 2002).




1
 The filing fee for a civil action is $350.00. 28 U.S.C. § 1914(a). The Clerk is also directed to
collect a miscellaneous administrative fee of $52.00. 28 U.S.C. § 1914(b); https://www.uscourts.
gov/services-forms/fees/district-court-miscellaneous-fee-schedule.      The        miscellaneous
administrative fee, however, “does not apply to applications for a writ of habeas corpus or to
persons granted in forma pauperis status under 28 U.S.C. § 1915.” Id.
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                                             Discussion

       The Prison Litigation Reform Act (PLRA), Pub. L. No. 104-134, 110 Stat. 1321 (1996),

which was enacted on April 26, 1996, amended the procedural rules governing a prisoner’s request

for the privilege of proceeding in forma pauperis. As the Sixth Circuit has stated, the PLRA was

“aimed at the skyrocketing numbers of claims filed by prisoners–many of which are meritless–and

the corresponding burden those filings have placed on the federal courts.” Hampton v. Hobbs, 106

F.3d 1281, 1286 (6th Cir. 1997). For that reason, Congress created economic incentives to prompt

a prisoner to “stop and think” before filing a complaint. Id. For example, a prisoner is liable for

the civil action filing fee, and if the prisoner qualifies to proceed in forma pauperis, the prisoner

may pay the fee through partial payments as outlined in 28 U.S.C. § 1915(b). The constitutionality

of the fee requirements of the PLRA has been upheld by the Sixth Circuit. Id. at 1288.

       In addition, another provision reinforces the “stop and think” aspect of the PLRA by

preventing a prisoner from proceeding in forma pauperis when the prisoner repeatedly files

meritless lawsuits. Known as the “three-strikes” rule, the provision states:

       In no event shall a prisoner bring a civil action or appeal a judgment in a civil action
       or proceeding under [the section governing proceedings in forma pauperis] if the
       prisoner has, on 3 or more prior occasions, while incarcerated or detained in any
       facility, brought an action or appeal in a court of the United States that was
       dismissed on the grounds that it is frivolous, malicious, or fails to state a claim upon
       which relief may be granted, unless the prisoner is under imminent danger of
       serious physical injury.

28 U.S.C. § 1915(g). The statutory restriction “[i]n no event,” found in § 1915(g), is express and

unequivocal. The statute does allow an exception for a prisoner who is “under imminent danger of

serious physical injury.” The Sixth Circuit has upheld the constitutionality of the three-strikes rule

against arguments that it violates equal protection, the right of access to the courts, and due process,

and that it constitutes a bill of attainder and is ex post facto legislation. Wilson v. Yaklich, 148

F.3d 596, 604–06 (6th Cir. 1998).

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         Plaintiff has been an active litigant in the federal courts in Michigan. In more than three of

Plaintiff’s lawsuits, the Court entered dismissals on the grounds that the cases were frivolous,

malicious, and/or failed to state a claim. See Holloway v. Russell, et al., Case No. 1:18-cv-325

(W.D. Mich., Apr. 25, 2018); Holloway v. Radner, Case No. 2:16-cv-248 (W.D. Mich., Jan. 11,

2017); Holloway v. Reed, Case No. 1:09-cv-208 (W.D. Mich., Apr. 17, 2009). All of Plaintiff’s

dismissals were entered after enactment of the PLRA on April 26, 1996.

         Moreover, Plaintiff’s allegations do not fall within the “imminent danger” exception to the

three-strikes rule. 28 U.S.C. § 1915(g). Plaintiff does not allege facts showing that he is in

imminent danger of serious physical injury.

         Therefore, § 1915(g) prohibits Plaintiff from proceeding in forma pauperis in this action.

Plaintiff has twenty-eight (28) days from the date of entry of this order to pay the civil action filing

fees, which total $402.00. When Plaintiff pays his filing fees, the Court will screen his complaint

as required by 28 U.S.C. § 1915A and 42 U.S.C. § 1997e(c). If Plaintiff does not pay the filing

fees within the 28-day period, this case will be dismissed without prejudice, but Plaintiff will

continue to be responsible for payment of the $402.00 filing fees.



Dated:      May 26, 2022                                /s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge


SEND REMITTANCES TO THE FOLLOWING ADDRESS:

Clerk, U.S. District Court
399 Federal Bldg.
110 Michigan St., N.W.
Grand Rapids, MI 49503

All checks or other forms of payment shall be payable to “Clerk, U.S. District Court.”



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